                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF WISCONSIN


In the Matter of

         NETWURX, INC.,                                                Case No. 08-26131-svk
                                                                       Chapter 11
                  Debtor.


   ORDER GRANTING MOTION BY THE DEBTOR TO MODIFY THE ACCEPTED
                              PLAN


         This matter came before the Court on October 22, 2009 at 1:00 p.m., pursuant to §

1127(a) of the Bankruptcy Code, to modify the accepted plan.

         The Court finds that it has jurisdiction to hear this matter pursuant to 28 U.S.C.

§§ 1334(a) and 157(a), and the order of reference in this district entered pursuant to § 157(a), and

that this is a core proceeding under 28 U.S.C. § 157(b)(a) because it concerns the administration

of the debtor’s estate pursuant to § 157(b)(2)(L).

         Notice was sufficient and required objections to be filed by October 21, 2009.

         IT IS ORDERED that the debtor’s Plan is modified as follows:




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“Effective Date” shall mean the date on which the order confirming this Plan of

Reorganization becomes final and non-appealable, or the Debtor declares the

Effective Date to be by filing such declaration with the Court.

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